Céssd 2237000681483) Daecuieent2 Filet OQ3s123 Page 2 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:23-cv-00681-ABJ

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) United States of America
was received by me on (date) March 14, 2023

© I personally served the summons on the individual at (place)

on (date) ; or

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

On (date) ___, and mailed a copy to the individual’s last known address; or
© I served the summons on (name of individual) , who is
designated by law to accept service of process on 1 behalf of engi of organiz viene)
on (date) ; OF
Cj I returned the summons unexecuted because > OF

RM Other (specifi): per Fed, R. Civ. P. 4, | sent the summons, complaint, and Notice of Right to Consent to Trial Before a
United States Magistrate Judge in this matter via certified mail to Attorney General Merrick B. Garlanc
at 950 Pennsylvania Avenue NW, Washington, D.C. 20530-001, which was signed for by Evie
Sassok of the Department of Justice on April 4, 2023.

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: DIl. a 5

gf ohh Alt Server's signature :
Dee Ot sf t fo pre Ameri Can Civil pbuhes

Union runbehon ot Ae Mpitf oF Lol binbla a

Avscaar Luff Uhr name and cal oes dé the
td OF tar force fhe oe oppor VW

Additional information regarding attempted service, etc:

